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IN THE UNITED STATES DISTRJCT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

 

WESTERN DIVISION 91
UNITED STATES OF AMERJCA, »
*
Plaintiff,
*
VS‘ No. 03-20169~3
*
REGINALD PULLEN,
*
Defendant.

ORDER GRANTING GOVERNMENT'S MOTION
TO CONTINUE SENTENCING

Sentencing is hereby reset to ` ., l;é, 2005, at I_§O_{Qm .
§§
DONE at Memphis, Tennessee, this __(C§_ day GFM, 2005.

 

// @D STATES DISTR`ICT IUDGE
APPROVED: ///

-_»-___________
Thomas A. Colthurst

Assistant U.S. Attorney

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with Rule 55 audi ii

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 556 in
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William L. Johnson

LAW OFFIC§ OF WILLIAM L. JOHNSON
212 Adams Ave.

Memphis7 TN 38103

Thomas A. Colthurst

U.S. ATTORN§Y'S OFFIC§
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

